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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,                                      Case No. 20-cr-20134

v.                                                              HON. MARK A. GOLDSMITH

ANTHONY ROY MILLIGAN JR.,

                Defendant.

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                           OPINION & ORDER
     DENYING DEFENDANT ANTHONY MILLIGAN’S MOTION FOR JUDGMENT OF
                 ACQUITTAL OR FOR A NEW TRIAL (Dkt. 169)

        This matter is before the Court on Defendant Anthony Milligan’s motion for judgment of

acquittal or, in the alternative, for a new trial (Dkt. 169). For the reasons set forth below, the Court

denies the motion in its entirety. 1

                                         I. BACKGROUND

        Defendant Anthony Milligan was charged with one count of conspiracy to possess with

intent to distribute heroin and methamphetamine under 21 U.S.C §§ 841, 846, and a second count

of possession with intent to distribute heroin under § 841(a)(1). Superseding Indictment (Dkt. 16).

After trial, the jury found Milligan guilty on both counts. Verdict at 1–2 (Dkt. 161).

        Milligan’s motion requests acquittal or a new trial on multiple grounds. With respect to

the conspiracy charge under Count I, Milligan argues that the evidence is insufficient to support

either the existence of a conspiracy or the quantity of drugs attributable to the conspiracy. Mot. at

11–14. As to the possession charge under Count II, Milligan argues that there was insufficient


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  Because oral argument will not aid the Court’s decisional process, the motion will be decided
based on the parties’ briefing. See E.D. Mich. LR 7.1(f)(2). In addition to the motion, the briefing
includes the Government’s response (Dkt. 173) and Milligan’s reply (Dkt. 176).
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evidence to show that Milligan constructively possessed heroin that was delivered to 2 Wenonah

Dr., Pontiac, Michigan (the Wenonah Drive package), and, therefore, Milligan possessed less than

the 100 grams for which the jury convicted him. 2 Id. at 10–11. Milligan also requests a new trial

with respect to both counts based on an asserted error by the Court in instructing the jury regarding

Milligan’s right to testify. Id. at 12–13.

                                             II. ANALYSIS

        Milligan requests that the Court acquit him of all charges pursuant to Federal Rule of

Criminal Procedure 29, or, in the alternative, grant him a new trial pursuant to Rule 33. See Mot.

        Rule 29 enables a court to enter an acquittal where a jury has either returned a guilty verdict

or failed to return a verdict, and the evidence is insufficient to support a conviction. Fed. R. Crim.

P. 29(c)(2), (a). “Claims of insufficient evidence are determined by inquiring whether, after

viewing the evidence in the light most favorable to the prosecution, any rational trier could have

found the essential elements of the crime beyond a reasonable doubt.” United States v. Coleman,

458 F.3d 453, 456 (6th Cir. 2006) (punctuation modified). “In examining claims of insufficient

evidence, this court does not weigh the evidence presented, consider the credibility of witnesses,

or substitute its judgment for that of the jury.” United States v. Driver, 535 F.3d 424, 429 (6th Cir.

2008) (punctuation modified). Defendants asserting insufficiency of the evidence arguments have

a heavy burden, and circumstantial evidence alone can sustain a conviction. United States v.

Wettstain, 618 F.3d 577, 583 (6th Cir. 2010).

        Rule 33 governs Milligan’s motion for a new trial, which permits a district court to “vacate

any judgment and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a).



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  As summarized in the parties’ briefing, the United States Postal Inspection Service (USPIS)
intercepted a suspicious parcel containing heroin, which was addressed to an individual named
Anthony Williams at the Wenonah Drive residence. Mot. at 2; Resp. at 12–13. After intercepting
the Wenonah Drive package, agents removed most of the heroin and conducted a controlled
delivery of the package to Wenonah Drive. Mot. at 2; Resp. at 12–13.

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“The rule does not define interest of justice and the courts have had little success in trying to

generalize its meaning.” United States v. Munoz, 605 F.3d 359, 373 (6th Cir. 2010) (punctuation

modified). Nevertheless, “it is widely agreed that Rule 33’s ‘interest of justice’ standard allows

the grant of a new trial where substantial legal error has occurred,” including “reversible error or

violation of the defendant’s substantial rights.” Id. at 373–374.

   A. Conspiracy to Distribute and Possess Controlled Substances (Count I)

       Milligan challenges the sufficiency of the evidence supporting both (i) the existence of the

conspiracy, Mot. at 13–14, and (ii) the jury’s finding regarding the weight of drugs attributable to

the conspiracy, id. at 11–12.

       1. Conspiracy

       The Court turns first to Milligan’s arguments challenging the sufficiency of evidence

supporting the conspiracy. Milligan points out that the “Sixth Circuit has ‘long held that a buyer-

seller agreement alone does not establish a conspiracy[.]’” Mot. at 13 (quoting United States v.

Wheat, 988 F3d 299, 304 (6th Cir 2021)). Milligan contends that the evidence could have

supported, at most, a jury finding that he engaged in only a buyer-seller relationship with co-

conspirator Brian Carr. Id.

       Consistent with the Sixth Circuit case law cited by Milligan, the Court instructed the jury:

       A buyer-seller relationship alone is generally insufficient to tie a buyer to a
       conspiracy because mere sales do not prove the existence of the agreement that
       must exist for there to be a conspiracy. Factors that may be considered in
       determining whether the relationship is a conspiracy or a buyer-seller relationship
       include [i] whether the buyer makes repeated purchases of large quantities of
       narcotics from the seller, [ii] whether the methods of payment included the seller
       providing narcotics to the buyer with the expectation that the buyer would pay the
       seller back with proceeds from the drugs provided, and [iii] whether the relationship
       between the buyer and seller was an enduring arrangement.

Jury Instructions at 19–20 (Dkt. 186).

       Applying these factors to the evidence presented at trial, the Court concludes that the

evidence supports the jury’s finding that Milligan engaged in a drug conspiracy—and not a mere

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buyer-seller relationship. As to the first factor—repeated purchases of drugs—the evidence

showed that Milligan engaged in multiple drug sales. As the Government points out, Resp. at 10–

11, the jury heard testimony from Carr, who said that he repeatedly purchased drugs from Milligan.

The second and third factors also support the jury’s finding of a conspiracy. Carr testified that

Milligan would front Carr with drugs to sell, and that Carr would then use the proceeds of his drug

sales to reimburse Milligan. Id. at 11. The evidence—including Carr’s testimony and text

messages and phone calls between Carr and Milligan—shows that their arrangement was enduring,

weighing in favor of finding the existence of a drug conspiracy. See id.

       Resisting this conclusion, Milligan points out that Carr also testified to purchasing drugs

from dealers other than Milligan and that Carr had requested a refund on a drug purchase. Mot. at

14. Neither fact supports Milligan’s argument. Whether Milligan and Carr’s arrangement was

exclusive has no bearing on the whether that arrangement constituted a conspiracy. Because the

jury’s conspiracy finding is sufficiently supported by the evidence, the Court denies Milligan’s

Rule 29 motion on this ground.

       2. Amount of Drugs

       Milligan also argues that the jury’s finding with respect to the amount of methamphetamine

involved in the conspiracy—at least 500 grams—is not supported by the evidence. See Mot. at

14; Verdict at 1–2. Specifically, Milligan argues that a parcel of methamphetamine, discovered

by law enforcement under Carr’s bed, which Milligan acknowledges contained “[two] pounds of

methamphetamine,” “was not sufficiently tied to the alleged conspiracy.” Mot. at 14.

       However, the evidence undercuts Milligan’s position. At trial, Carr testified that Milligan

sent Carr the parcel. Resp. at 17–18. And as the Government points out, text messages between

Carr and Milligan also show that the two were engaged in a drug conspiracy. See id. at 18. The

evidence sufficiently supports the jury’s findings associated with Milligan’s drug conspiracy.



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        Because the jury’s verdict finding Milligan guilty of conspiracy to possess with intent to

distribute methamphetamine and heroin was sufficiently supported by the evidence, the Court

denies Milligan’s motion on this ground. 3

     B. Possession with Intent to Distribute a Controlled Substance (Count II)

        Milligan challenges the jury’s verdict with respect to his conviction of possession with

intent to distribute a controlled substance. He argues that the evidence was insufficient to show

that Milligan constructively possessed the Wenonah Drive package, and therefore, the evidence

was insufficient to support the jury’s finding that Milligan’s possession involved 100 grams or

more of heroin. Mot at 10–11.

        “To convict a defendant of possession with the intent to distribute, the government must

show (a) the defendant knowingly (b) possessed a controlled substance (c) with the intent to

distribute.” United States v. Hall, 20 F.4th 1085, 1106 (6th Cir. 2022) (punctuation modified).

“The defendant does not need to be in actual possession of the substances; ‘constructive’ or ‘joint’

possession suffices. The evidence demonstrates constructive possession when it shows ownership,

dominion, or control over the contraband itself or the premises or vehicle in which the contraband

is concealed.” Id. (punctuation modified).

        Here, the Government argues that the evidence at trial was sufficient to show that Milligan

constructively possessed the Wenonah Drive package. Milligan disputes this assertion, arguing




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  Milligan also argues vaguely that he is entitled to acquittal, asserting that the “Government’s case
presented against him was insufficient as a whole” because Milligan “was never arrested with
narcotics, nor was he ever recorded doing a narcotic transaction.” Mot. at 14. This argument is
without merit. In addition to the evidence discussed above, the Government presented the jury
with evidence showing Milligan’s involvement in the conspiracy, including USPS shipping
records showing that Milligan tracked the package, text messages discussing drugs in coded
language, and an established modus operandi of shipping drugs within composition notebooks.
Viewed together, this evidence is sufficient to support Milligan’s involvement in the drug
conspiracy for which he was convicted.

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that there was insufficient evidence to support a finding that Milligan exercised the requisite

control over the package. Mot. at 9.

        The Court agrees with the Government that the evidence presented at trial is sufficient to

support a finding that Milligan exercised control over the Wenonah Drive package by arranging

for its shipment from California to Michigan. As summarized in the Government’s response,

USPS records show that a phone number associated with Milligan was used to repeatedly check

on the shipping status of the package. Id. at 12. Text messages show that Milligan was in

California around the time the package was sent in July 2018, and that he requested Valerie

Williams’s address shortly before the package was sent to her address. Resp. at 11 (citing Gov’t

Ex. 6C). In a July 14, 2018 text message, Williams writes to Milligan that she “didn’t c

[Milligan’s] pkg yet,” and Milligan agrees that the package had not yet arrived: “Nope I checked

it too.” Id. at 13. And while Milligan points out that his fingerprints are not on the package, Mot.

at 6, the Government presented evidence that the fingerprints of Milligan’s associate and un-

indicted co-conspirator, Terrance Hannah, were found on the package’s interior wrappings. Resp.

at 12. Taken together, this evidence is more than sufficient to support the jury’s finding that

Milligan directed or controlled the shipment of the Wenonah Drive package, and, therefore,

constructively possessed the package. 4

        Milligan next argues that he is entitled to acquittal or a new trial because the evidence was

insufficient to support the jury’s finding that Milligan possessed with an intent to deliver at least

100 grams of heroin. Mot. at 10. Specifically, Milligan argues that, because law enforcement

intercepted and removed a substantial portion of the original amount of heroin contained in the

Wenonah Drive package, “the total narcotics possessed would be far less than the 100 grams or



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  Milligan also argues that there was no evidence that Milligan “actually possessed the Wenonah
Drive package.” Mot. at 9. But as the Court explains above, “actual possession” is not required
to sustain a conviction for possession with the intent to distribute.

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more found by the [j]ury.”       Mot. at 10.     Milligan further submits that law enforcement’s

interception of the package also undermines the validity of the jury’s determination that Milligan

was involved in a conspiracy to distribute or possess at least one kilogram of heroin (Count I). Id.

at 10–11.

        Milligan’s argument fails for the same reasons discussed above regarding constructive

possession. There is sufficient evidence for the jury to find that Milligan directed or controlled

the shipment of the Wenonah Drive package—including during the time before law enforcement

intercepted the package and removed most of its contents. Milligan is not entitled to acquittal or

a new trial on this ground.

    C. Jury Instruction

        Milligan argues that the Court failed to properly instruct the jury regarding Milligan’s right

to decide whether to testify at trial. Mot. at 12.

        “Federal Rule of Criminal Procedure 30(d) requires that a party who objects to any portion

of the instructions or to a failure to give a requested instruction must inform the court of the specific

objection and the grounds for the objection before the jury retires to deliberate.” United States v.

Stewart, 839 F. Supp. 2d 914, 929 (E.D. Mich. 2012) (punctuation modified). When the defendant

fails to object to the jury instructions, the district court’s instructions are reviewed for plain error.

United States v. Morrison, 594 F.3d 543, 546 (6th Cir. 2010). “[P]lain error requires a finding

that, taken as a whole, the jury instructions were so clearly erroneous as to likely produce a grave

miscarriage of justice.” Id.

        At the outset of Milligan’s trial, the Court provided the jury with initial instruction

regarding the burden of proof and a defendant’s right to not testify:

        After the government has put in its case, the defense can call witnesses if it wants
        to. You already heard [Milligan’s counsel] Mr. Amberg talk about the fact that the
        defendant has a right to testify, but he also has a right not to testify and because the
        burden is only on the government, it’s not on Mr. Milligan, the defense doesn’t
        have to call any witnesses, doesn’t have to present you with any evidence

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       whatsoever. It’s solely up to the defense to decide whether it wants to call any
       witnesses or put on any evidence.

Resp. at 16. In addition to this initial instruction, the Court again instructed the jury, following

closing arguments, on the burden of proof, explaining that Milligan is “presume[d]” innocent and

that a “defendant has no obligation to present any evidence at all, or to prove to you in any way

that he is innocent.” Id.

       At the conclusion of trial, the Court conferenced with the parties regarding proposed jury

instructions. During the conference, the parties reached agreement regarding disputed instructions,

and the Court required the parties to make modifications to the language of certain instructions.

The Government then submitted to the Court the revised instructions, however, through apparent

inadvertence, the instruction regarding a defendant’s right not to testify was omitted. See Mot. at

12; Resp. at 15. As a result, the Court’s charge to the jury did not include a specific instruction

regarding a defendant’s right not to testify. After becoming aware of the omission while the jury

deliberated, the Court informed the parties of the omission, recalled the jury, read the instruction,

and sent the jury back to the jury room for continued deliberations. Mot. at 12–13; Resp. at 17.

       Milligan submits that he is entitled to a new trial under Rule 33 because the Court failed to

properly instruct the jury. Mot. at 12. According to Milligan, the “error was no minor issue” and

the delayed instruction “may have had a direct effect on the decision making of the Jury.” Id. at

13.

       Milligan’s argument is without merit. As recounted above, the Court provided the jury

with an instruction regarding Milligan’s right not to testify and the absence of any obligation to

present evidence proving his innocence. Milligan fails to provide any explanation as to why these

instructions were insufficient. Even assuming that the Court erred by omitting the right-to-testify

instruction from its initial recitation of the jury instructions, the Court remedied the error by

pausing the jury’s deliberations and providing them the omitted instruction. “A jury is presumed


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to follow its instructions.”    United States v. Johnson, 803 F.3d 279, 282 (6th Cir. 2015)

(punctuation modified). Milligan’s speculative assertion that the delayed instruction “may” have

impacted the jury is not sufficient to rebut this presumption.

       Because Milligan has failed to demonstrate that the Court erred in instructing the jury, the

Court denies his motion for a new trial on this ground.

                                       III. CONCLUSION

       For the reasons stated above, the Court denies Defendant Anthony Milligan’s motion for

new trial or acquittal (Dkt. 169).


SO ORDERED.

Dated: December 3, 2024                               s/Mark A. Goldsmith
       Detroit, Michigan                              MARK A. GOLDSMITH
                                                      United States District Judge




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